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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

BILLITTERI v. SECURITIES AMERICA,
INC., et al (Provident Royalties Litigation)

 

 

THIS DOCUMENT RELATES TO;
ALL ACTIONS

 

 

3 ;O9-CV-01568-f
AND RELATED CASES

PLAINTIFFS’ MEMORANDUM OF LAW IN
OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS
THE CONSOLIDATED AMENDED CLASS ACTION COMPLAINT

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PRELIMINARY STATEMENT

This investor class action focuses on Defendants’ liability in connection With the offer
and sale of Provident Securities1 to Plaintiffs and Class members Plaintiffs allege three claims:
violation of Article 581-33A(2) of the TeXas Securities Act (the “TSA”) against the Broker
Defendants for the offer or sale of Provident Securities by means of a materially misleading
Private Placement Memorandum; breach of fiduciary duty against the Broker Defendants for
their failure to conduct due diligence and sale of unsuitable securities; and secondary liability
against the Control Person Defendants under Article 581-33F of the TSA.

Faced With the Well-pled allegations of the elements of these causes of action in the
Complaint, Defendants seek to impose various pleading burdens and add elements to Plaintiffs’
claims that have no legal justification under either the Federal Rules of Civil Procedure or TeXas
laW. Contrary to Defendants’ arguments, none of Plaintiffs’ claims alleges any “fraudulent”
misconduct by the Defendants, and none of the elements of those claims requires Plaintiffs to
plead fraud or fraudulent intent in order to recover. 1n addition, Article 581-33A(2) imposes
liability on those Who offer or sell securities “by means of’ a misleading statement - no
requirement for “mal<ing” a misstatement is in the statutory language, and Defendants are Wrong
to suggest that it is an element of the claim. Plaintiffs’ allegations are plausible on their face and
easily satisfy the pleading standards of Bell Allanll`c Corp. v. Twoml)lyj 550 U.S. 544 (2007) and

Ashcroft v. 1ql)cllj 129 S.Ct. 1937 (2009).

 

1 Unless otherwise noted, all defined terms in the Consolidated Amended Class Action

Complaint (Docket No. 22) (the “Complaint”) are adopted herein.

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Defendants try to construct a defense to Plaintiffs’ claims by characterizing certain of the
allegedly false or misleading statements as “forward-looking” or “promises” of future
performance. Those arguments must be rejected. First, any determination of those issues
requires resolution of an issue of fact, which is inappropriate on a Rule 12(b)(6) motion. Second,
the Complaint alleges misstatements and omissions of material facts that existed at the time the
statements were made, not projections or future estimates. Third, Texas law has not adopted the
“bespeaks caution” doctrine, but, even under federal authority, the purportedly “cautionary”
language Defendants identify was too generic and boilerplate to shield them from liability.

Defendants’ argument that they owed no fiduciary duty to Plaintiffs beyond the purely
ministerial processing of Plaintiffs’ investments ignores the facts and applicable law.
Defendants expressly assumed a due diligence obligation to investors (for which they were paid
a percentage of the investment proceeds), and Texas law imposes certain fiduciary obligations on
brokers which Plaintiffs adequately allege have been breached.

Finallyj the TSA explicitly provides for secondary liability against those who control,
directly or indirectly, the primary wrongdoers. Each of the parent companies of the Broker
Defendants are alleged to have the requisite indicia of control person status, and they should not
be dismissed at this early stage of the litigation.

STATEMENT OF FACTS

Provident Royalties is a Texas-based company that holds oil and gas interests, working
interests and royalty interests in oil and gas properties in the United States. (1111 1, 51.)2
Beginning in September 2006j Provident Asset Management, LLC (“PAM”), a registered broker-

dealer, together with a network of affiliated broker-dealers that included the Broker Defendants,

 

2 All “11” citations are to the Complaint.

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offered and sold to investors approximately $485 million of oil and gas investments in a series of
Offerings. (1111 1j 52, 68.) By the time the investments were revealed to be a Ponzi scheme in
early 2009j the broker-dealers had earned approximately $69 million in fees_in part for “due
diligence” they purportedly performed before selling the investments to Plaintiffs and Class
members. (1111 2, 10j 68.)

A. The Provident Securities

Provident Royalties and PAM raised funds from investors through a series of Offerings
of preferred stock or partnership interests that promised a high rate of return_ranging from 14-
18% per year_payable in the form of regular dividends or distributions. (1111 2, 53, 70-73.) The
securities were not publicly traded and were sold as exempt from the registration requirements of
the Securities Act of 1933 (the “Securities Act”) under SEC Rule 506 of Regulation D. (1111 1j
53.) Each Offering was structured in a similar manner involving the sale of interests in a
separate “Provident” or “Shale” entity (e.g., Provident Resources 1j LP; Provident Energy 1j LP;
Shale Royalties 11, Inc.). (1111 1, 53-55.) Provident Royalties was a beneficial owner in each of
these Rule 506 Entities. (1111 1j 51, 60.)

Each of the Offerings was ostensibly offered and sold to “accredited” investors pursuant
to a Private Placement Memorandum (“PPM”). (1111 2, 69.) The PPMs for all of the Offerings
were substantially similar. (1111 69, 74.) The PPMs stated the percentage of Offering proceeds
that would be invested in the oil and gas business. (1111 3, 74-78.) For examplej the PPM for
Shale 12 stated that 86% of the proceeds was designated for oil and gas investments, with the
remainder used to pay organizational expenses (0.5%), syndication fees (4.5%) and
commissions/due diligence fees (9%). (11 77.) In addition to setting forth a highly attractive rate

of return, the PPMs included information about significant dividends paid in earlier Offerings.

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(1111 55, 82.) For examplej the chart included as an exhibit to the PPM for Shale 20 shows that
approximately $17 million had been paid out to investors in the early Offerings. (11 82.)

What the PPMs misstated was how Provident Royalties was using investors’ funds. The
various Provident Entities engaged in overlapping business and financial activities through an
interconnected network of partnerships, companies, stockholdings and other relationships. (1111
43-54j 58-62.) The Provident Entities did not invest the proceeds as represented, engaged in
dozens of undocumented inter-company transfers, commingled the proceeds from the various
Offerings, and used later investors’ funds to pay “dividends” and “returns of capital” to earlier
investors. (1111 4, 63, 79, 81-92, 94-96.) As proceeds came in, the Provident Entities transferred
assets and funds from one entity to another to pay dividends and make it appear that earlier
investors were being paid returns on their investments. (1111 86, 92.) In fact, earlier investors,
who had been told that roughly 86 percent of their funds would be invested in oil and gas assets,
were paid returns with the funds from later investors. (11 92.) For examplej in October 2007j
$2.2 million was transferred from a Shale 5 bank account to a Shale 4 bank account, and a
portion of those funds were used to pay dividends to Shale 4 investors. (11 86.)

B. Defendants’ Offer and Sale of the Provident Securities to Plaintiffs and Class
Members

The Broker Defendants were part of the syndicate of broker-dealers across the country
that solicited the sale of and sold Provident Securities. (11112, 9, 66, 69, 106.) The Broker
Defendants executed participation agreements with PAM and attended sales presentations in
PAM’s offices, at PAM’s expense. PAM also employed wholesalers that assisted the Broker
Defendants with product training through workshops and conference appearances. (1111 66-67.)
The Broker Defendants participated in the drafting, preparation, approval, due diligence and/or

dissemination of the PPMs. (1111 2, 9, 64.)

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The Broker Defendants were paid commissions and fees for selling the Provident
securities, including a “due diligence” fee of 1% of the proceeds. (1111 2, 10j 64, 68.) The PPMs
explicitly stated that the Broker Defendants were paid this due diligence fee. For example, the
PPM for Shale 12 stated:

Sales Commissions and Due Diligence Fees. The Corporation will pay an 8%
sales commission plus a 1% due diligence fee on the amount of subscription
proceeds for Preferred Stock Series A to the Managing Dealer. The
Corporation will pay a 6% sales commission plus a 1% due diligence fee on
the amount of subscription proceeds for the Preferred Stock Series B to the
Managing Dealer. The amount reflected above assumes that only Preferred
Stock Series A is sold in this offering. The Managing Dealer will pay the sales

commission and due diligence fee to other securities broker/dealers for
subscriptions received through such broker/dealers.

(11 10.) An identical or virtually identical statement was included in the PPMs for the other
offerings. (1110.)

C. Provident Royalties Files for Bankruptcy

In early 2009j the house of cards began to fall. On January 22, 2009, Provident Royalties
announced that it would no longer accept any new investors. (1111 5, 119.) A week later,
Provident Royalties suspended dividends and payments to all investors in the Offerings. (1111 5j
119.) By thenj Provident Royalties owed investors at least 5510,130,785j with nearly $200
million more coming due in 2009. (W 97, 120.)

On June 22j 2009j Provident Royalties and approximately 26 affiliated and related
companies filed petitions in the United States Bankruptcy Court for the Northern District of
Texas (Dallas Division) seeking relief under Chapter 11 of the United States Bankruptcy Code.
mm 6, 123.)

On July 1j 2009j the SEC filed civil fraud charges against Provident Royalties and its
principalsj alleging that Provident Royalties made a series of fraudulent securities offerings
involving oil and gas investments. (1111 7, 124.) The court-appointed receiver has concluded that

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the Offerings were based on false and misleading representations to investors. The Receiver’s
First Quarterly Report, filed on October 30, 2009, stated that:

At this stage, PAM has equitable disgorgement and fraudulent conveyance claims

with regard to the approximately $69 million in broker commissions that were

paid in the course of the fundraising herein. It is inescapable that there Were

significant, material misrepresentations made in the course of the offerings in
this case, and accordingly such commissions are avoidable.

(11 8j emphasis added.)

Plaintiffs filed this class action on behalf of all investors who purchased or acquired
Provident Securities from September 1j 2006 until January 31, 2009 from any of the Broker
Defendants (the “Class”). Plaintiffs assert a claim under Article 581-33A(2) of the TSA against
the Broker Defendants, who offered or sold the Provident Securities by means of the materially
false and misleading PPMs. (1111 134-39.) Plaintiffs assert a claim against the Control Person
Defendants under Article 581-33F(1) of the TSA because they exercised control over the
management, policies and operations of their subsidiary brokers, and had the ability to prevent
their subsidiary brokers from acting as sellers of the Provident Securities. (1111 140-43.) Plaintiffs
also allege that the Broker Defendants breached their fiduciary duties to Plaintiffs and the Class
by failing to perform a reasonable due diligence on behalf of investors to ensure that the
statements contained in the PPMs were true and not misleading and that the Provident Securities
were suitable investments for Plaintiffs and the Class. (1111 11j 65, 106-18j 144-49.)

ARGUMENT

I. LEGAL STANDARD

A. Motions to Dismiss Are Disfavored and All Allegations Must Be Accepted As
True

“Motions to dismiss under Rule 12(b)(6) ‘are viewed with disfavor and are rarely

granted.”’ Lormana’ v. US U11w1'rea’, 111c.j 565 F. 3d 228, 232 (5th Cir. 2009) (citation omitted).

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Rule 8(a)(2) of the Federal Rules of Civil Procedure requires a complaint to set forth a “short and
plain statement of the claim showing that the pleader is entitled to relief” The Supreme Court
recently revisited Rule 8(a) and the allegations required to survive a Rule 12(b)(6) motion to
dismiss in Bell Allanll'c Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. 1qba1j 129 S. Ct.
1937 (2009). Although Defendant Securities America characterizes these decisions as
establishing a more rigorous and fact-intensive test at the pleading stage (Sec. Am. Mem. 5), the
Court did not disturb the directive that a complaint should not be found deficient even if it is

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apparent that a recovery is very remote and unlikely.”’ Twoml)lyj 550 U.S. at 556 (citing
Scheuer v. Rhoa’es, 416 U.S. 232, 236 (1974)).

The Supreme Court held that “detailed factual allegations” are not required, but the
complaint must include “sufficient factual matter. .. to ‘state a claim to relief that is plausible on
its face.”’ 1aba1j 129 S. Ct. at 1949 (quoll`ng Twombly, 550 U.S. at 570); see also Erl'ckson v.
Para’us, 551 U.S. 89, 93 (2007) (“[s]pecific facts are not necessary” to satisfy the requisites of
Rule 8(a)(2)); Lor111a11a’j 565 F.3d at 232. Although “[t]he plausibility standard is not akin to a
‘probability requirement,”’ 1qbal, 129 S. Ct. at 1949, the Court reaffirmed the strong deference
given to a pleading, stating that a claim need only “raise a right to relief above the speculative
level on the assumption that all the allegations in the complaint are true (even if doubtful in
fact).” Twombly, 550 U.S. at 555-56 (citations and footnote omitted); L0r111a11a’j 565 F. 3d at
232.

On a Rule 12(b)(6) motion, a court must “accept all factual allegations in the complaint
as true” and “draw all reasonable inferences in the plaintiff’ s favor.” Lor111a11a’j 565 F 3d at 232;

see 1qba1j 129 S. Ct. at 1950 (“When there are well-pleaded factual allegations, a court should

assume their veracity and then determine whether they plausibly give rise to an entitlement to

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relief”). Accordingly, a claim has “facial plausibility” and is sufficiently pled for purposes of
Rule 12(b)(6) when its “factual content allows the court to draw the reasonable inference that
the defendant is liable for the misconduct alleged.” 1a’.j 129 S. Ct. at 1949 (citing Twombly, 550
U.S. at 556).

B. Plaintiffs’ Claims D0 Not Sound In Fraud and Are Not Subject to Rule 9(b)

1. Plaintiffs D0 Not Allege that Defendants Acted Fraudulently

Defendants’ argument3 that the Complaint must satisfy the heightened pleading standard
of Rule 9(b) fundamentally misconstrues Plaintiffs’ allegations and improperly injects new
elements into Plaintiffs’ claims. (Sec. Am. Mem. 4-6; NEXT Mem. 13, 22.) Plaintiffs do not
allege that Defendants acted fraudulently; in fact, Plaintiffs specifically disclaim any allegation
that Defendants acted with fraudulent intent or scienter. (11 9.) Defendants’ unlawful conduct,
Plaintiffs allegej was selling Provident Securities by means of PPMs that contained false and
misleading statements_an offense for which Texas law imposes liability without regard to the
seller’s state of mind_and negligently failing to conduct due diligence in violation of their
fiduciary duty to Plaintiffs and the Class.

Under Fifth Circuit law, when a complaint “‘do[es] not assert that defendants are liable
for fraudulent or intentional conduct and disavow[s] and disclaim[s] any allegation of

fraud’ . ..Those claims do not ‘sound in fraud’ and cannot be dismissed for failure to satisfy Rule

 

3 Defendants NEXT, NEXT Holdings, GunnAllen and GunnAllen Holdings adopted, in their
joint motion to dismiss, all arguments made by their co-Defendants. (NEXT Mem. 1 n.2).
Defendants National Securities, National Holdings, Capital Financial, Capital Holdingsj
CapWest, Capstone, QA3 and QA3 LLC adopted all arguments made by NEXTj NEXT
Holdings and Securities America (Natl Sec. Mem. 1-2; CapFin Mem. 1; CapWest Mem. 1; QA3
Mem. 1.).

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9(b).” Lo11e Slar Laa’l'es 111v. Clul) v. Shlolzsky’s 111c.j 238 F. 3d 363, 369 (5th Cir. 2001).4
Although Defendants argue that the “gravamen” of Plaintiffs’ claims involves fraud (Sec. Am.
7), there are no such allegations in the Complaint. Securities America’s citation to a handful of
supposed allegations of fraud takes phrases out of context. (1a’.) Those citations actually refer
to: Plaintiffs’ summary of the SEC complaint against Provident Royalties and its principals (1'a’.j
citing 11 7); Plaintiffs’ summary of the Receiver’s report regarding PAM (1'a’.j citing 11 8); and
Plaintiffs’ reiteration of the elements of the claim - taken verbatim from the TSA - in connection
with setting forth Defendants’ misrepresentations 1a’.j citing 11 79).

Defendants have cited no cases in which a court imposed a Rule 9(b) pleading standard
where, like here, the only claims alleged are non-fraud based claims. Because Plaintiffs allege
no fraud claims, the Court need not determine whether the “non-fraud claims are ‘so intertwined’
with the fraud averments” that imposition of the Rule 9(b) standard is warranted. See Ke1111ara’ v.
111a’1`a11apol1`s Ll`fe 111s. Co., 420 F. Supp. 2d 601, 609 (N.D. Tex. 2006). Nor is this a case like
Mela’er v. Morrl`sj where the plaintiffs pled both fraud claims under the Exchange Act and non-
fraud claims under the Securities Act, and their non-fraud claims incorporated the allegations of
their fraud-based claims. 27 F. 3d 1097, 1100 n.6 (5th Cir. 1994) (citing “the complaint’s
wholesale adoption of the allegations under the securities fraud claims for purposes of the
Securities Act claims”); see also See Wag11er v. Fl`rst Horl'zo11 Pharm. Conj 464 F. 3d 1273,

1278 (11th Cir. 2006) (“[A] § 11 or § 12(a)(2) claim must be pled with particularity when the

 

By contrast, in some of Defendants’ cases, courts applied the Rule 9(b) standard simply
because the plaintiff did not argue that Rule 8 governed their non-fraud based claims. See, e.g.,
Wl`ll1'a111s v. Wl\/IX Tech., 111c.j 112 F. 3d 175, 177 (5th Cir. 1997) (applying Rule 9(b) applied
because “the parties ha[d] not urged a separate focus” on non-fraud claims); see also A111. Really
Trusl, 111c. v. Travelers Cas. & Surely Co. 362 F. Supp. 2d 744, 749 (N.D. Tex. 2005) (holding
that Rule 9(b)’s heightened pleading standard may apply to negligent misrepresentation claims
when “a plaintiff waives arguments to the contrary”).

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facts underlying the misrepresentation at stake in the claim are said to be part of a fraud claim, as
alleged elsewhere in the complaint. .. This conclusion does not add new elements to the nonfraud
claims, nor does it elevate the pleading standard when the claim is not alleged to have been part
of another fraud-based claim.”).

Defendants cannot use Rule 9(b) to inject new elements into Plaintiffs’ claims or require
Plaintiffs to plead more in support of those claims than they are required to prove at trial. See,
e.g., A111. Reallyj 362 F. Supp. 2d at 749 (“Rule 9(b) has no application to circumstances that do
not constitute fraud or mistake”); Ke1111ara’j 420 F. Supp. 2d at 609 (citing A111. Really Trust, 1nc.
v. Ha1111'llo11 La11e Aa’vl'sors, Inc., 115 Fed. Appx. 662, 668 (5th Cir. 2004) (“[T]he Fifth Circuit
has declared that “‘Rule 9(b)’s stringent pleading requirements should not be extended to causes
of action not enumerated therein.”’)).

2. Rule 9(b) D0es Not Apply to Plaintiffs’ TSA Article 581-33 Claims

Defendants’ own cases acknowledge that “there are no heightened pleading
requirements” for claims under TSA Article 581-33. See 111 re E11ro11 Corp. Sec., Derl`vatl've &
ER1SA Ll'll`g., 235 F. Supp. 2d 549, 708 (S.D. Tex. 2002) (holding that the TSA does not require
proof of reliance, scienter, or seller’s duty to disclose); Dorsey v. Portfoll'o Equl`tl'es, 111c.j 540
F.3d 333j 343-344 (5th Cir. 2008) (“unlike a common law fraud cause of action, an article 581-
33 claim does not require scienter...”). Claims under TSA 581-33F(1) against control persons
(which are construed in accordance with parallel federal securities laws) are also governed by
Rule 8. See Trena’setler 111v., LLC, v. Hypera’ynaml'cs Corp, et al., No. H-06-0746j 2007 WL
172627, at *15 (S.D. Tex. Jan. 18j 2007) (allegations under Section 20(a) of Exchange Act and
the TSA must “be pleaded only in accordance with Rule 8(a) because fraud is not an essential

element” of control person claims); Broa’y v. Zl`x Corp.j No. 3 :04-CV193 1-K, 2006 WL 2739352,

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at *9 (N.D. Tex. Sept. 26, 2006) (Rule 8, rather than Rule 9, applies to control person liability
claims under the federal securities laws).

Defendants cite cases in which courts refer to the TSA an “anti-fraud statute,” but this
label alone does not inject new elements into the claim, and those cases do not even address the
applicable pleading standard. See A11a’erso11 v. V1`11so11 Explorall'on, 111c.j 832 S.W.2d 657, 661-
662 (Tex. App. 1992) (analyzing directed verdict, not pleading standard, and identifying the
elements of a TSA Article 581-33A(2) claim as “an offer or sale of a security by means of either
an untrue statement of a material fact or an omission of a material fact which is necessary in
order to make the statement made, in light of all of the circumstances, not misleading”);
Grotjohn Precl'se Co1111ex1011es 1111’l, S.A. v. JEl\/IF1'11., 111c.j 12 S.W.3d 859, 867 (Tex. App.
2000) (analyzing summary judgmentj not pleading standard, but identifying same elements of a
TSA Article 581-33A(2) claim). And Defendants’ citations to non-TSA cases where, unlike
here, the plaintiffs alleged that the defendants engaged in fraudulent conduct, are inapposite. See
111 re 1k011 O]j‘l'ce Solull'ons, 111c. Sec. Ll'll'g., 86 F. Supp. 2d 481, 488 (E.D. PA. 2000) (“plaintiffs
seemingly allege that all of the ERISA defendants participated in fraudulent practices”);
Herrl'ngton v. Househola’, 1111’l, 111€., No. 02 C 8257j 2004 WL 719355, at *7 (N.D. Ill. Mar. 31,
2004) (“the allegations in the complaint clearly allege [Defendants’] intentional
misrepresentations”).

Plaintiffs do not allege any fraud-based claims against Defendants, and the fact that
Plaintiffs allege that the Provident Entities engaged in a Ponzi scheme does not transform
Plaintiffs’ claims into “fraud-based” claims. See E11ro11, 235 F. Supp. 2d at 613, 708 (applying
Rule 8 in denying motions to dismiss TSA claims against brokers in a case alleging “an

enormous Ponzi scheme”).

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3. Rule 9(b) D0es Not Apply to Plaintiffs’ Breach of Fiduciary Duty Claim

Rule 9(b) does not apply to breach of fiduciary duty claims that are not based on
allegations of fraudulent conduct. See, e.g., Cl`ly ofDrl`scoll v. Saenzj No. C-06-543j 2007 WL
173232, at *5 (S.D. Tex. Jan. 17j 2007) (“A claim for breach of fiduciary duty is covered by the
notice pleading standard in Fed. R. Civ. P. 8(a), not the heightened pleading standard for fraud
claims set forth in Fed. R. Civ. P. 9(b).”); see also Brown v. Whilcrafl, No. 3:08-CV-0186-Dj
2008 WL 2066929j at *4 (N.D. Tex. May 15, 2008), citing Pelers v. Melro. Ll'fe 111s. Co.j 164 F.
Supp. 2d 830, 836 (S.D. Miss. 2001) (“Rule 9(b) also applies to a claim for breach of fiduciary
duty when the claimed breach rests upon the same allegations as a fraud claim.”)).

The Fifth Circuit cases Defendants cite do not involve fiduciary duty claims at all. See
Lo11e Slar Laa’l`es 111v. Club, 238 F.3d at 363; Mela’erj 27 F.3d At 1097. The only two cases
Defendants cite that do address the application of Rule 9(b) to breach of fiduciary duty claims
are district court cases from Illinois and Michigan in which the plaintiffs alleged breach of
fiduciary duty under ERISA, and even those cases recognize that the claim is subject to Rule
9(b) only if it is based on allegations of fraud. See Rogers v. Baxler 1111’l, 111€., 417 F. Supp. 2d
974j 984 (N.D. Ill. 2006) (“While claims for breach of fiduciary duty under ERISA generally are
not subject to heightened pleading standards, Rule 9(b) does apply where the plaintiff alleges
that a defendant’s breach of fiduciary duty took the form of a fraudulent act.”); 111 re General
Mozors ERIsA Lm'g., NO. 05-71085, 2006 wL 897444, at *16 (E.D. Mich. Apr. 6, 2006) (in
ERISA case, where a plaintiff’ s fiduciary duty claim is premised on an allegation “that a

defendant has lied,” Rule 9(b) may apply).

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II. PLAINTIFFS HAVE SUFFICIENTLY PLED A CLAIM UNDER TSA ARTICLE
581-33

A. Plaintiffs’ Allegations Satisfy Rule 8 and, Although Not Required, Also
Satisfy Rule 9(b)

To state a claim under TSA Article 581-33A(2), Plaintiffs must allege “an offer or sale of
a security by means of either an untrue statement of a material fact or an omission of a material
fact which is necessary in order to make the statement made, in light of all of the circumstances,
not misleading.” /111a’erso11j 832 S.W.2d at 661-662. The plain language of the statute confirms
that reliance, scienter and the seller’s duty to disclose are not elements of a claim for violation of
the statute:

A person who offers or sells a security (whether or not the security or transaction

is exempt under Section 5 or 6 of this Act) by means of an untrue statement of a

material fact or an omission to state a material fact necessary in order to make the

statements made, in the light of the circumstances under which they are made, not

misleading, is liable to the person buying the security from him, who may sue

either at law or in equity for rescission, or for damages if the buyer no longer
owns the security.

TSA Article 581-33A(2)(emphasis added); see also E11ro11j 235 F. Supp. 2d at 708.5

Thus, as judged by the prerequisites of Rule 8(a), Plaintiffs have alleged sufficient facts
to state a claim under TSA Article 581-33 that is plausible on its facej as required by Twombly
and 1qbal. Plaintiffs allege:

0 The Broker Defendants offered and sold Provident Securities to Plaintiffs (1111 2, 9, 106);

 

5 The TSA applies when “any act in the selling process of securities covered by the Act occurs

in Texas,” regardless of Plaintiffs’ states of residence or the location of the sales. E11ro11j 235 F.
Supp. 2d at 691 (citation omitted). Because Provident Royalties, its founders and several of its
related entities are all located in Texas, significant acts “in the selling process” occurred in
Texas. (1111 43-48j 51-52, 59.) Defendants’ argument to the contrary is wrong. (Sec. Am. Mem.
6 n.3).

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0 The Broker Defendants’ sale of Provident Securities to Plaintiffs was made by means of
untrue statements of material facts and omissions to state material facts, including
misrepresentations regarding the use of investors’ funds (1111 74-85);

0 Plaintiffs purchased their Provident Securities from the Broker Defendants (1111 16-26);
and

0 Plaintiffs seek rescission and have tendered their Provident Securities (11 139).

Moreover, Plaintiffs’ factual allegations also satisfy the heightened pleading standard of
Rule 9(b)j which requires Plaintiffs to “specify the statements contended to be fraudulent,
identify the speaker, state when and where the statements were made, and explain why the
statements were fraudulent.” Herrmann Holdings Lla’. v. Lucent Tech., 111c.j 302 F.3d 552, 564-
65 (5th Cir. 2002) (citations omitted). The Complaint does exactly that:

0 1t specifies the exact statements contended to be untrue or misleading: 1`.e., statements in
the PPMs regarding the nature of the Rule 506 Entities’ business activities (1111 74, 80);
the uses of proceeds from the Offerings (1111 75, 77, 78); and the segregation of investor
funds (11 76);6

0 1t identifies the “speaker”: the Rule 506 Entities and Provident Royalties, as beneficial
owner of the entities (1111 51, 53). For purposes of Article 581-33A(2) liability against the
Broker Defendants, the PPMs were the means by which the Broker Defendants sold the
securities to Plaintiffs (1111 2, 64);

0 1t states when and where the statements were made: in the PPM issued for each Offering

on the dates each Offering commenced (11 55); and

 

6 For brevity, Plaintiffs quoted only statements from the Shale 12 PPM in their Complaint.

Defendants do not dispute that identical or virtually identical statements were contained in each
PPM. (1111 69, 74.)

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0 1t explains why the statements were materially untrue or misleading, including setting

forth the relevant omissions of material facts from the PPMs (1111 7 9, 81, 85).

Thus, under Fifth Circuit authority, Plaintiffs have pled the elements of their TSA Article
581-33A(2) claim with sufficient particularity to withstand analysis under the more stringent
pleading standard of Rule 9(b).7

Neither the elements of the TSA Article 581-33A(2) claim, nor Rule 9(b)j require
Plaintiffs to allege the names of Defendants’ individual representatives, when and where
Plaintiffs received the PPMs, the time and place of purchase, the amount of the investment, or
that Plaintiffs relied on any of the misstatements. Moreover, because Plaintiffs have adequately
alleged the misstatements (1111 74-81, 85), as well as the circumstances underlying those
misstatements (1111 86-92), no further details need be pled.8

B. TSA Article 581-33 Holds All Sellers “In The Chain” Liable and D0es Not
Require that Defendants “Make” the False 0r Misleading Statements

Both the explicit language and the purpose of the statute belie Defendants’ contention
that a defendant seller must “make” a false or misleading statement to be liable under TSA
Article 581-33A(2). The express language of the statute imposes liability on a seller who did not

“make” the statements at issue, requiring only that the sale be made “by means of’ an untrue

 

7 Plaintiffs’ allegations do not improperly “lump” Defendants together, as Defendants contend.
(Sec. Am. Mem. 4, 11.) Rather, Plaintiffs allege that each Broker Defendant engaged in the
same misconduct in connection with the sale of Provident Securities. (See, e.g.j 1111 9, 11j 64, 65,
106.)

8 Should the Court find that the Complaint includes averments of fraud, not sufficiently
particular, the Court should disregard them as surplusage and assess the remaining allegations.
The Fifth Circuit has held that “[t]he proper route is to disregard averments of fraud not meeting
Rule 9(b)’s standard and then ask whether a claim has been stated.” Lo11e Slar, 238 F.3d at 368;
see also A111. Reallyj 362 F. Supp. 2d at 751 (inadequate fraud allegations are “mere surplusage”
to a claim for which fraud is not an element, so the Court should disregard those aspects of
averments of fraud that go beyond what is necessary to state a claim).

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statement of material fact or an omission to state a material fact. TSA 581-33A(2). “[L]iability
may be imposed against a defendant as long as the defendant constituted any link in the chain of
the selling process.” Enronj 235 F. Supp. 2d at 566. The Broker Defendants were indisputably a
“link in the chain” of the sale of the Provident Securities who sold the securities “by means of’
the PPMs containing false and misleading statements.9

Despite Defendants’ attempt to sidestep the statute’s terms, the clear “by means of’
language is broader than “make.” The First Circuit recently analyzed the meaning of the term
“make” in Rule 10b-5 of the Securities Exchange Act in Securities ana’ Exchange Con1n1’n v.
Tambone, No. 07-1384, 2010 WL 796996, at *7 (1St Cir. Mar. 10, 2010). There, the Court
contrasted the language of Rule 10b-5 with the language of Section 17(a) of the Securities Act,
which makes it unlawful “to obtain money or property by means of any untrue statement of
material fact.” 1a’. (quoting 15 U.S.C. § 77q(a)(2)) (emphasis added). Recognizing the “salient
difference” between “‘by means of’” in § 17(a) of the Securities Act and “make” in Rule 10b-5j
the Court concluded that “although section 17(a) may fairly be read to cover the ‘use’ of an
untrue statement to obtain money or property, Rule 10b-5(b) is more narrowly crafted and its
reach does not extend that far.” 1a’. (internal citation omitted). Thus, the substantial difference
between the statutes’ language precludes any analysis of TSA § 33A(2) through the spectrum of

Rule 10b-510

 

9 The contention that Plaintiffs’ allegation regarding the Broker Defendants’ role in the process
of selling Provident Securities in 11 64 is “contradict[ed]” by other allegations regarding drafting
of the PPl\/ls (NEXT Mem. 14) disregards the explicit language of 11 64; “[The Broker
Defendants] participated in the drafting, preparation, approval, due diligence and/or
dissemination of various materially false and misleading statements ...”

10 Defendants’ cases citing Rule 10b-5 are therefore irrelevant to understanding the TSA’s “by
means of’ language. (See Sec. Am. Mem. 13j citing 1n re Charler Commc'ns, 1nc., 443 F. 3d
987, 992 (8th Cir. 2006); er'ghl v. Ernst & Young LLP, 152 F. 3d 169, 175 (2d Cir. 1998);

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Texas courts have recognized that the TSA’s language is broader than that used in its
federal counterpart, Section 12(a)(2) of the Securities Act. See Duperl`er v. Texas Slale Bank, 28
S.W.3d 740j 753 (Tex. App. 2000) (Section 12(2) of the Securities Act is “the federal version of
article 581-33A(2)”); Texas Capl'lal Sec. 1nc. v. Sana’efer, 58 S.W.3d 760, 775 (Tex. App. 2001)
stating that the TSA “differs from its federal counterpart in that it does not contain the phrase of
limitation ‘by means of a prospectus or oral communication”’ and “[h]ad the Texas Legislature
intended to limit the scope of article 581-33(A)(2), it could have used limiting language, as did
Congress.”). Section 12(a)(2) similarly does not require that the seller “make” the statement in
order to be subject to liability. See Moore v. Kayport Package Express, 1nc., 885 F.2d 531, 53 8-
39 (9th Cir. 1989) (plaintiffs stated claim under 12(a)(2) of Securities Act against stockbrokers
that distributed sales promotion data containing misstatements).

Defendants ignore the “by means of’ language in the statute and instead cite cases that
stand for the unremarkable proposition that a seller who drafted or uttered false or misleading
statements may be held liable under the TSA. These decisions do not alter or restrict the
meaning of the “by means of’ language in the statute. See Duperl'erj 28 S.W.3d at 745
(addressing liability of a bond salesman who personally made statements to investing bank about
the securities); Crescena’o 1nv., 1nc. v. Brl'cej 61 S.W.3d 465, 475 (Tex. App. 2001) (addressing
liability of corporation issuing securities for statements made by its officers); Aegl`s 1ns. Hola’l`ng
Co. v. Gal'ser, No. 04-05-00938, 2007 WL 906328, at *6 (Tex. App. Mar. 28j 2007) (an LLC

that drafted a PPM is liable under the TSA); Covenanl Capl'lal Partners v. Sol'l Savers, 1nc.j No.

 

Anl'xler v. Home-Stake Proa’. Co., 77 F.3d 1215, 1226 (10th Cir. 1996); NEXT Mem. 13, citing
Enronj 235 F. Supp. 2d at 588.) Similarly, a decision on a common law fraud claim provides no
assistance here. (NEXT Mem. 14 n. 4, citing The Llora’an (Bermua’a) 1nv. Co. v. Hunler Green
1nv. LLC, No. 00-9214, 2007 WL 2948115 at *14 (S.D.N.Y. Oct. 3, 2007).)

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3:06-CV-0399-Oj 2008 WL 2941125, at *3 (N.D. Tex. July 30, 2008) (defendants that “prepared
a promotional booklet that was distributed to prospective investors to induce them to purchase
stock” found liable under TSA). Finallyj in R2 1nv. v. Phl`lll'psj the court dismissed the plaintiff’ s
TSA claim because the defendant was “not a seller, control person or aider as defined by the
Act” and was not alleged to have made any untrue statements or omitted any material facts. No.
302CV323N, 2003 WL 22862738, at *l, *7 (N.D. Tex. Mar. 26j 2003).

Holding liable all sellers “in the chain” who use false or misleading statements to sell the
securities, regardless of whether they were the ones who actually drafted the statements, furthers
the purpose of the TSA, which “is to be construed ‘to protect investors.”’ Enron, 235 F. Supp.
2d at 566 (quoting Sana’eferj 58 S.W.3d at 775). “The purpose of The Securities Act is to require
sellers of securities to be truthful and to provide investors with all material facts and, thus, allow
them to make informed decisions.” Ganl v. Slalej 814 S.W.2d 444j 449 (Tex. App. 1991). And
“‘because article 581-33 is remedial in nature in the civil context, it ‘should be given the widest
possible scope.”’ Enron, 235 F. Supp. 2d at 566 (quoting Sana’eferj 58 S.W.3d at 775).11

III. THE MATERIAL MISSTATEMENTS AND OMISSIONS IN THE PPMS ARE
ACTIONABLE

Defendants argue that the material misstatements alleged in 1111 74-81 are either forward-
looking in nature and “bespeak caution,” or “promises” of future performance that are not
actionable under the Texas Securities Act. (Natl Sec. Mem. 4; NEXT Mem. 15-18; Sec. Am.

Mem. 14j CapFin Mem. 3, CapWest Mem. 3; QA3 Mem. 3.) They are wrong.

 

11 Moreover, the TSA provides an affirmative defense to sellers if they prove that they “did not

know, and in the exercise of reasonable care could not have known, of the untruth or omission.”
Article 581-33A(2). Defendants may avail themselves of this defense, if applicable, at the
appropriate stage of the litigation.

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A. The Bespeaks Caution Doctrine D0es Not Apply to Plaintiffs’ Claims

Texas has specifically rejected the adoption of the “bespeaks caution” doctrine. Texas
precedent holds that, in connection with a claim under the TSA, the bespeaks caution doctrine is
“not recognized by the statutory or case law” of Texas. Duperl'er, 28 S.W.3d at 752 (cited in
Sec. Am. Mem. 1212). 1t is not surprising then that Defendants have not cited any cases
specifically applying the bespeaks caution doctrine to a TSA claim.13 Rather, under Texas law,
the relevant analysis is whether Plaintiffs have sufficiently alleged the materiality of the
misstatements at issue in light of the surrounding circumstances. 1a’. Thus Defendants’
arguments that apply the bespeaks caution doctrine should be rejected.

Even in the Fifth Circuit’s view, the bespeaks caution doctrine “merely reflects the
unremarkable proposition that statements must be analyzed in context.” Rubl'nstel`n v. Colll`nsj 20
F.3d 160j 167 (5th Cir. 1994).14 Thusj the Court must determine whether the cautionary
language provided in the PPMS renders the alleged misstatements and omissions immaterial:

“[M]ateriality is not judged in the abstract, but in light of the surrounding

circumstances.” The appropriate inquiry is whether, under all the circumstances,
the omitted fact or the prediction without a reasonable basis “is one [that] a

 

12 Defendant Securities America cites to Duperl`er but it does not argue that the bespeaks

caution doctrine applies to Plaintiffs’ claims, as the other Defendants do.

13 Defendants suggest that Ml'llcreek Assocl'ates, L.P. v. Bear, Slearns & co.j 205 F. Supp. 2d

664 (W.D. Tex 2002) applies the bespeaks caution doctrine to TSA claims. (NEXT Mem. 17.)
The court applied the doctrine to the plaintiff’ s 10b-5 claim but, with respect to the plaintiff’ s
TSA 581-33 claim, the court found, at most, that there was no privity between the parties and/or
that the misrepresentations plaintiffs alleged were not material. 1a’. at 676.

14 Defendant NEXT cites Zuckerman v. Foxmeyer Heallh Conj 4 F. Supp. 2d 618, 624 (N.D.
Tex 1998) which quotes this language from Rul)l'nslel'n. Applying this contextual analysis, the
Zuckerman court denied the motion to dismiss: “The court has examined Defendants’ alleged
statements in light of the appellate court’s holding in Rubl'nstel`n and concludes thatj when read in
the context of all the allegations in the complaint, Plaintiffs have properly alleged that
Defendants’ statements were baseless or untruths and may, therefore, be actionable as unfounded
prediction under Section 10(b).” 1a’. at 625.

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reasonable investor would consider significant in [making] the decision to invest,

such that it alters the total mix of information available about the proposed

investment.” 1nclusion of cautionary language-along with disclosure of any firm-

specific adverse facts or assumptions-is, of course, relevant to the materiality

inquiryj for such inclusion or disclosure is part of the “total mix of information.”

Nevertheless, cautionary language as such is not per se dispositive of this inquiry.
1a’. at 167-68 (emphasis added) (footnotes omitted); see also Kurtzman v. Compaq Computer
Corp., No. Civ. A.H-99-779, 2000 WL 34292632j at *6 n. 13j 16 (S.D. Tex. Dec. 12j 2000).

Defendants assert the “per se” defense that the Fifth Circuit has explicitly rejected.
Enronj 235 F. Supp. 2d at 576, citing Rubinstein, 20 F.3d at 162. (See NEXT Mem. 17.) They
never challenge or discuss the materiality of the alleged misstatements, which is not surprising
given that an analysis of materiality here would require resolution of factual issues that cannot be
resolved on a motion to dismiss. As the Kurtzman court held:

The disclosures identified by Defendants contain broad cautionary warnings about

factors such as competition, industry risks, etc.. . ..This Court, in a 12(b)(6)

motion, cannot conclude that the adverse facts alleged here by Plaintiffs would

not have led a reasonable investor to believe that the mix of information had been

significantly altered. There are issues as to the specificity and materiality of the

general warnings pointed out by Plaintiffs. . .that preclude dismissal under

12(b)(6). Materiality is a mixed question of fact and law, and a complaint may not

be dismissed under Rule 12(b)(6) unless the alleged misstatements and omissions

are “so obviously unimportant to a reasonable investor that reasonable minds

could not differ on the question of their importance.”
2000 WL 34292632j at *39 (quoting Gola’n1an v. Bela’enj 754 F.2d 1059, 1067 (2d Cir. 1985))
(other citations omitted). Defendants have not met, and cannot meet, this test for materiality as a
matter of law in the context of Plaintiffs’ allegations.

As detailed more fully below, Plaintiffs have specifically set forth the statements alleged
to be materially misleading (1111 74-78, 80) and have set forth specific reasons to substantiate why
those statements are alleged to be materially misleading. (1111 79, 81). Accepting those allegations

as true and drawing all inferences in Plaintiffs’ favor, as it must on this motion, this Court should

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reject Defendants’ attempt to by-pass the required materiality analysis, particularly where, as
here, Defendants have not, and cannot, show that the alleged misstatements are “so obviously
unimportant to a reasonable investor that reasonable minds could not differ on the question of
their importance.” Kurtzn1anj 2000 WL 34292632, at * 39. In other words, viewing the
statements in the PPMS as a whole, it is plausible that a reasonable investor would have
considered the “total mix” of information about Provident Securities in a different light had the
Provident Entities disclosed the information Plaintiffs allege was misstated and omitted. (1111 79,
81). See Krin1 v. BancTexas Groupj 989 F.2d 1435, 1448 (5th Cir. 1993). Thus, Defendants’
motions to dismiss should be denied.

B. The Alleged Material Misstatements and Omissions in the PPMS Are Neither
Forward-Looking Statements N0r Statements of Future Performance

Because Texas state law does not adopt the bespeaks caution doctrine, Texas state courts
have not defined the types of statements that qualify as forward-looking statements. Defendants
rely on their analogy to the PSLRA’s safe harbor for forward-looking statements and related
federal law.15 (NEXT Mem. 15-16.) However, the PSLRA specifically states that the safe
harbor does not apply to statements made in connection with an initial public offering. 15 U.S.C.
§ 77z-2(b)(2)(D). See 1n re.' Merck & Co., 1nc. Sec. Litig., 432 F.3d 261, 272 (3d Cir. 2005). As
each of the Rule 506 Entities at issue in this action had “no prior operating history” (see NEXT
Ex. A. at 11 (describing “the Corporation”)), they were akin to initial public offerings.

Nevertheless, even under the PSLRA, a forward-looking statement is limited to:

A. a statement containing a projection of revenues, income (including income

loss)j earnings (including earnings loss) per share, capital expenditures,
dividends, capital structure, or other financial items;

 

15 Texas courts look to federal securities laws decisions to assist them in interpreting the TSA.

Herrmann Holdings, 302 F.3d at 563.

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B. a statement of the plans and objectives of management for future operations,
including plans or objectives relating to the products or services of the issuer;

C. a statement of future economic performance, including any such statement
contained in a discussion and analysis of financial condition by the
management or in the results of operations included pursuant to the rules and

regulations of the Commission;

D. any statement of the assumptions underlying or relating to any statement
described in subparagraph (A)j (B), or (C);

E. any report issued by an outside reviewer retained by an issuer, to the extent
that the report assesses a forward-looking statement made by the issuer; or

F. a statement containing a projection or estimate of such other items as may be
specified by rule or regulation of the Commission.

15 U.S.C. § 77z-2(i)(1). None of the statements at issue fall into the above categories, nor are
they “promises” of future performance, as Defendants allege. (Sec. Am. Mem. 13-14.) Thus,
they do not provide a shield to Defendants. Colln1er v. U.S. Liquia’s, 1nc.j 268 F. Supp. 2d 718j
744 (S.D. Tex. 2003) (the bespeaks caution doctrine only applies to predictive statements and
omissions); Kurtzmanj 2000 WL 34292632, at *25 (the safe harbor “applies only where the
statements are forward-looking (not historical or current facts)”).

In paragraph 74 of the Complaint, Plaintiffs quote a statement from a prototypical PPM
(see, e.g., NEXT Ex. A) that is found under the heading “Business Plan.” 1t states facts: i.e., the
purported purpose of the Rule 506 Entities, the means by which the entity supposedly intends to
conduct business and the powers the entity possessed to accomplish that purpose:

74. ...The Corporation was organized to engage in all aspects of the oil and gas

business, including acquiring real estate, oil and gas leases and mineral interests,

and conducting exploration and development activities. The Corporation intends

to acquire a combination of various producing and non-producing mineral

interests [including royalty interests and working interests] in real property

located within the United States. The Corporation may acquire oil and gas leases

and subsequently farm-out or sublease such leases. The Corporation may acquire
real estate, including surface rights, and subsequently hold or sever and sell the

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surface rights. The Corporation may acquire real estate, mineral interests and
leases from affiliates of the Corporation or may sell real estate, mineral interests
or leases to affiliates. The Corporation anticipates that its properties will be
developed by oil and gas exploration and development companies, which may
include affiliates of the Corporation. The Corporation may participate in oil and
gas drilling programsj directly as a working interest owner or indirectly through
investment in others. The Corporation may issue and sell additional securities,
sell assets, or incur debt, to finance its activities or to participate on or redeem the
Preferred Stock. ..

Such statements are not forward-looking, nor a promise of future performance. See Hara’en v.
Ra]j‘ensperger, Hughes & Co., 65 F.3d 1392, 1405-1406 (7th Cir. 1995) (statement regarding
“plans” that exist or are being formulated is a present assertion of fact and bespeaks caution
doctrine does not apply); see also Lina’elow v. Hillj No. 00 C 3727, 2001 WL 830956, at *4
(N.D. Ill. July 20, 2001) (“statements of goal can, in context, be read by the investor to imply
that the company had a reasonable basis for its opinion” and are not automatically protected).
Likewisej as in 111ara’enj the PPM statements and allegations in 1111 75-78 are present
assertions of facts: they explain the essential terms of the investment, including the intended
uses of investor proceeds, their segregation into separate accounts, and the percentage of
proceeds to be dedicated to oil and gas investments:
75. [Use of Proceeds]...Proceeds of the offering are intended to be used
primarily to acquire Properties, and may be used to pay intangible Property
Acquisition Costs, which may include an allocated portion of costs incurred by
affiliates. The Corporation will use the proceeds of the offering to pay
organization and offering costs, to pay non-accountable due diligence and
syndication fees and sales commissions to securities broker/dealers, including an

affiliate of the Corporation, and to implement its plan of business. ..

76. [Terms of the Offering] Each of the PPMS represented that investor funds
would be placed in a separate account belonging to the Rule 506 Entity at issue.

77. [Use of Proceeds of Offering] Each PPM included a chart setting forth the use
of proceeds from that Offering, indicating the percentage of Plaintiffs and Class
members’ funds that would be dedicated to oil and gas investments. For example,
in Shale 12j the following description appeared in the Use of Proceeds section,
indicating that eighty-six percent of investor proceeds were designated for oil and

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gas investments:

Assuming that the Corporation raises a total of $35,000,000 from the sale of
Preferred Stock:

MAXIM[H\/l
Subscription $35,000,000 100.00%
Proceeds
Organizational $175,000 0.50%
Expenses
Syndication Fee $1,575,000 4.50%
Sales $3,150,000 9.00%
Commission/Due
Diligence Fee
Oil and Gas $30:100:000 86.00%
Investments
Total Gross §35§000§000.00 100.00%
Proceeds

78. Under “Oil and Gas Investments,” the PPM stated: The proceeds of the
offeringj after payment of expenses, fees and commissions, will be used to
implement the Corporation’s plan of business. Proceeds will be used primarily to
acquire Properties and may be used to pay overhead and administrative expenses
and Property Acquisition Costs.
These representations are not forward-looking statements, nor promises of future performance.
They are Defendants’ statements about plans that existed at the time the statements were made.
Moreover, any suggestion that 1111 75-78 are forward-looking statements by way of “prediction”
is overcome by the fact that those representations are so intertwined with the representations of
present facts that all of the statements amount to representations of fact. See Trenholm v.

Ratcliffj 646 S.W.2d 927j 930-931 (Tex. 1983).

Because Plaintiffs have shown above why 1111 74-78 of the Complaint are not forward-

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looking statements, 11 7916 cannot be a forward-looking statement; its purpose is to explain why
the statements made in 1111 74-78 are untrue statements of materials facts and omissions related to
the representation of present facts:17

79. The PPMS contained untrue statements of material facts and omitted to state
material facts necessary to make the statements made in 1111 74-78j in light of the
circumstances under which they were made, not misleading because:

a. Provident was not using the proceeds from the Offerings to invest in the oil
and gas business at the amounts reported to investors (i.e. purportedly over $560
million was spent by the Provident Entities in receivership to purchase oil and gas
assets but the value of these assets are estimated by the Receiver to be less than

$30 million);

b. Less than half of investors’ funds were used for the purposes stated in the
PPMs;

c. Investors’ funds received in connection with one Offering were

commingled with the funds received from investors in other Offerings;

d. Funds received from later investors were used to pay dividends and returns
of capital to earlier investors;

e. The lack of audited financial statements facilitated the Provident Entities’
ability to engage in financial misconduct;

f The Provident Entities’ internal financial statements lacked transparency as
to the financial performance and soundness of prior Offerings;

g. The Provident Entities lacked adequate internal controls over its financial
and accounting functions;

h. The Provident Entities engaged in numerous undocumented and
undisclosed inter-company transactions where funds from one Rule 506 Entity
were loaned to another Rule 506 Entity for purchase of leases or payment of
dividends;

 

16 Securities America does not characterize 1179 as a “promise” or statement of “future
performance.” (See Sec. Am. Mem. 14.)

17 Despite Defendants’ contentions (NEXT Mem. 18), Plaintiffs do not allege any misstatements
regarding the stability of the oil and gas market or the liquidity of the investment.

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i. The Provident Entities were paying millions of dollars of investors’ funds
to a firm owned by Blimline for properties, without receiving adequate
documentation of title to and values of the properties; and

j. The Offerings were conducted to effectuate a Ponzi scheme operated by the
Provident Group.

Paragraph 80 quotes statements from two separate PPMS to show that the Rule 506
Entities were materially misstating their sources of revenue:

80. The anticipated sources of the Rule 506 Entities’ revenue set forth in the
PPMS changed over time. The Shale 5 PPM stated: “The Corporation anticipates
that it will receive revenue from the payments under oil and gas leases for the
Properties it acquires. . . [with] five primary areas that will be potential sources of
revenue for the Corporation [bonuses, royalty interest, delay rentals, carried
working interest and shut-in royalties].” In contrast, the PPM for Shale 12 stated:
“The Corporation anticipates that its primary source of revenue will be from the
sale of assets. The Corporation anticipates that it also will receive revenue from
the payments under oil and gas leases for the Properties it acquires.” (emphasis
added). Both of these statements were materially false and misleading and
omitted material facts, as set forth in 11 79, above.

The quoted statements are not forward-looking because they are explanations of the Rule 506
Entities’ then-existing plan for obtaining revenue. See, e.g., Hara’en, 65 F.3d at 1405-1406. For
that same reason, they are not promises of future performance.
Paragraph 81 alleges that the PPMS omitted material information regarding the sources of
funds used to pay investor distributions and dividends:
81. Moreover, the Broker Defendants and the Provident Group failed to
disclose the sources of funds used to pay distributions and dividends to investors.
The PPMS did not disclose whether any revenues generated by the Rule 506
Entities were used to pay investors, or whether loan proceeds, income generated
from properties, sales of assets, funds from investors in other Rule 506 Entities or
commingled funds were used to make distributions.
The omission of these material facts regarding the nature of the investment and how the Rule 506

Entities were paying distributions and dividends at the time the statements were made is not

forward-looking.

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Defendants’ arguments turn on cherry-picking words out of context, but the use of words

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and phrases like “will be, would be, anticipate, 1ntend to” and “may” do not transform
statements of present and past circumstances into forward-looking statements. As discussed
above, statements must be analyzed in context. See, e.g., Rul)insteinj 20 F.3d at 167-68. When
such an analysis is done here, the facts support the conclusion that the statements are material.
At the very least, a contextual analysis supports the conclusion that the statements simply cannot
be adjudged immaterial as a matter of law.

The fact that the PPMS themselves characterize a litany of statements as “forward-
looking” does not insulate Defendants from liability. (NEXT Mem. 16 and NEXT Ex. A at 2.)
Not only is the list of “categories” of forward-looking statements broad and all-encompassing,
going so far as to include statements regarding business strategy and the nature of the
investment, the PPMS also claim that “any statements we make other than historical fact” are
forward-looking statements. This is an impermissible (and ineffective) attempt to shroud every
representation in the PPMS under the cloak of “forward-looking statement.” The Fifth Circuit
holds that such blanket classifications afford no protection: Defendants may not “evade liability
for a material misrepresentation or omission by liberally sprinkling the document with
boilerplate warnings and disclaimers of responsibility.” Krimj 989 F. 2d at 1448-49.

C. The PPMS Did Not Include the Required Meaningful Cautionary Language

None of the statements that Plaintiffs alleged to be false and misleading can be
characterized as forward-looking statements. But even assuming they could, and assuming the
bespeaks caution doctrine applies to a TSA claim, none of the statements were accompanied by

the required meaningful cautionary language. The bespeaks caution doctrine is only applicable

to “optimistic projections that are accompanied by relevant cautionary statements and specific

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risk disclosure that render the alleged misleading statement immaterial since it would not affect a
reasonable investor’s investment decisions.” Kurtzmanj 2000 WL 34292632, at *38. “Under
Fifth Circuit precedent, ‘[C]autionary language is not necessarily sufficient in and of itself, to
render predictive statements immaterial as a matter of law.”’ 1a’.j at * 6 (quoting Rul)insteinj 20
F.3d at 167-68) (citing Krim, 989 F.2d at 1448-49).

Defendants cannot rely upon boilerplate warnings of the “high degree of risk” in the
investment and the “Risk Factors” included in the PPMS as a shield from liability. (NEXT Mem.
16-18 and NEXT Ex. A at 11.) The Risk Factors deal broadly with: “Risks Associated with
Acquiring Oil and Gas Interests”; “Risks of Stock Ownership”; and “Tax Risks.” (NEXT Ex. A
at 11.) The inclusion of this type of so-called cautionary language in the PPMS does not provide
the protection Defendants seek. More is required than mere generic, broad disclaimers:

A few Defendants have maintained that they are not liable for alleged
misstatements in analysts’ reports because the investors could not have reasonably
relied on themj not only in light of their use of qualified language (e.g., “we
believe,” “we forecast,” “we expect,” “we feel very comfortable”), but also
because of express disclaimers, such as “does not warrant its completeness or
accuracy,” “past performance is not indicative of future results,” or “the recipient
of this report must make its own independent decisions regarding any securities or
financial instruments mentioned herein.” The Court disagrees. Generally a
disclaimer is enforceable only where it “tracks the substance of the alleged
misrepresentation.” Grumman Alliea’ 1na’us. v. Rohr 1na’us., 1nc., 748 F.2d 729,
735 (2d Cir. 1984). See also Manufacturers Hanover T rust Co. v. Yanakas, 7 F.3d
310j 316 (2d Cir. 1993)(to be effective a disclaimer “must contain explicit
disclaimers of the particular representations that form the basis” of the fraud
claim). Under both the statutory safe harbor and the bespeaks caution doctrine, as
discussed, the warnings may not be vague, generic, cursory disclaimers, but
instead must be “meaningful cautionary statements” identifying important factors
that might cause material differences in actual results, or must be adequate and
specific.

Enronj 235 F. Supp. 2d at 689-690; accord Kurtzman, 2000 WL 34292632j at *38-39 (“[T]he
cautionary statements must be substantive and tailored to the specific future projections,

estimates or opinions which the plaintiffs challenge.”). The general Risk Factors in the PPMS

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cannot be interpreted to somehow encompass the alleged misrepresentations and omissions at
issue here, which specifically relate to the present business plans and the use of investors’
funds.18 Thus, it remains that “[f]rom the context of the alleged misrepresentations and drawing
all inferences in favor of the plaintiff, these warnings, while somewhat specific, do not provide
sufficiently meaningful caution about clearly present danger that was materializing.” Lormana’j
565 F. 3d at 247. Accordingly, the so-called cautionary language included in the PPMS does not
render the alleged misstatements and omissions immaterial as a matter of law.

D. Plaintiffs Have Satisf“led Any Requirement that They Allege Fraudulent
Intent by the Speaker

Defendants attempt to transform the representations of present fact set forth in 1111 74-78
and 80 into “promises of future performance.” (See Sec. Am. Mem. 14.) Their reason for doing
so is obvious. 1t is the only way they can try to inject a “scienter” element into the TSA claimj
which otherwise does not require any allegations of the speaker’s intent. See, e.g., Herrmann
Holdings, 302 F. 3d at 563; Dorsey, 540 F.3d at 344 n.5. Because the challenged misstatements
and omissions relate to past and present facts about the Rule 506 Entities and their business
activities, there is no merit to Defendants’ argument that Plaintiffs must allege fraudulent intent.

1ndeed, the statements here that Plaintiffs identify as false or misleading are completely
different from those addressed in Herrmann Holdings, 302 F. 3d at 562. In Herrmann Holdings,
the court was confronted with a breach of contract as well as a TSA claim regarding “best

efforts” provisions in a contract that required defendants to file and cause a Form S-3 registration

 

18 Unlike Millcreek, 205 F. Supp. 2d at 682 and Tarica v. McDermott1nt’l., No. Civ. A. 99-
3831j 2000 WL 134 6895 (E.D. La Sept. 19j 2000)j none of the cautionary language here was
“coupled with the statements at issue” as Defendants assert (NEXT Mem. 17). Rather, the
“cautionary language” contains no “explicit disclaimers of the particular representations that
form the basis” of the alleged misrepresentations actions underlying Plaintiffs’ claims. See
Enronj 235 F. Supp. 2d at 689-90.

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statement to become effective “as promptly as practicable” and “in the most expeditious manner
practicable.” 1a’., 302 F.3d at 556. Although the defendants had filed the Form S-3, the claims
focused upon the timeliness of the filing. 1a’. at 557. Finding that the district court had correctly
concluded that the Herrmann Holding’s TSA claim was based on an “untrue promise to do a
future act, as opposed to an untrue statement of existing material fact (ia’. at 562-63), the court
dismissed the claim due to the failure to allege fraudulent intent by the speaker of the statements.
1a’. Herej Plaintiffs’ allegations do not include any comparable statements of intention to
perform particular actions in the future. Unlike the statement in Herrmann Holdings, none of the
alleged misstatements made in the PPMS are promises of future performances, nor are they
dependent on a “timeliness” analysis. Rather, the alleged misstatements are predicated upon
statements of existing material fact. See 111ara’enj 65 F.3d at 1405-06; Lina’elow, 2001 WL
830956, at *4.

Even if the Court determines that any of the alleged misstatements at issue are “promises
of future performance” requiring Plaintiffs to plead fraudulent intent, that requirement has been
met. As Defendants’ own authority holds, it is the speaker ’s fraudulent intent that is relevant.
Herrmann Holdings, 302 F. 3d at 563 (fraudulent intent requires “proof that the speaker knew
that the representation was false, or made it without regard to its truth or falsity”). Accora’
Dorsey, 540 F.3d at 343-344.

Although Plaintiffs have properly disclaimed any allegations of fraudulent intent or
scienter by the Broker Defendants, Plaintiffs have sufficiently alleged any required fraudulent
intent of the actual “speakers”_the Rule 506 Entities, as well as Provident Royalties as a
beneficial owner of each Rule 506 Entity (11 51) _when making the misrepresentations in the

PPMs. (1111 79(j), 86, 88, 91, 92.) Plaintiffs have allegedj with the particularity required by Rule

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9(b)j that, in light of the circumstances underlying the alleged misstatements, any “promises”
included in the PPMS were made by the Provident Entities “with no intention of performing at
the time” they were made. Herrmann Holdings, 302 F.3d at 563. Thus, the absence of
allegations regarding the Broker Defendants’ scienter does not affect Plaintiffs’ well-pled claim.

IV. PLAINTIFFS HAVE ALLEGED A BREACH OF FIDUCIARY DUTY CLAIM
AGAINST THE BROKER DEFENDANTS

There can be no question that the Broker Defendants owed Plaintiffs and the Class
fiduciary duties. Texas law is unequivocal: “The relationship between a broker and its customer
is that of principal and agent.” Hana’ v. Dean Witter Reynola’s 1nc.j 889 S.W.2d 483, 492-93
(Tex. App. 1994). And “[t]he relationship between agent and principal is a fiduciary one.” 1a’. at
493 n.5; see also Magnum Corp. v. Lehman Bros. Kuhn Loeb, 1nc.j 794 F.2d 198, 200 (5th Cir.
1986); Weszv. Touchszone, 620 s.w.zd 687, 690 (Tex. App. 1981).19

As Defendants acknowledge, the determination of the scope of a fiduciary’s duties under
Texas law is fact-based. See, e.g., Romano v. Merrill Lynch, Pierce, Fenner & Smith, 834 F.2d
523, 530 (5th Cir. 1987); Escalon v. Worla’ Group Securities, 1nc.j No. 5;07-CV-214-C, 2008
WL 5572823, at *6 (N.D. Tex. Nov.14, 2008) (denying summary judgment on plaintiff’ s
fiduciary duty claim because of unresolved fact issues). Not surprisingly, Defendants endeavor
to characterize the Broker Defendants’ duty to Plaintiffs and the Class as limited to “ensuring
that all trades made in the plaintiff’ s account were duly authorized by plaintiffj nothing more.”

(See NEXT Mem. 9.) The facts alleged in the Complaint show that the Broker Defendants

 

19 Because Texas law recognizes the relationship between a broker and its customer as a

fiduciary one, Plaintiffs are not required to plead the existence of a “special relationship” as the
Broker Defendants assert. (Sec. Am. Mem. 18; NEXT Mem. 8-9.) See, e.g., Lexington 1ns. Co.
v. North American 1nterpipe, 1nc., No. H-08-3589j 2009 WL 1750523j at *3 (S.D. Tex. June 19,
2009) (requiring proof of a “special relationship” because Texas law does not recognize the
relationship between an insurance agent and his client to be a fiduciary one).

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played a much greater role in the solicitation and sale of Provident Securities than they now
choose to admit and, as a result, the duties they owed to Plaintiffs and the Class with respect to
Provident Securities extended far beyond the ministerial role of executing trade orders.

Plaintiffs allege that the Broker Defendants were part of a syndicate of broker-dealers
who actively solicited investments in Provident Securities. (11112j 9, 69, 106.) The Broker
Defendants attended product training workshops and conferences, and attended sales
presentations held in PAM’s offices. (1111 66-67.) 1\/loreoverj Plaintiffs allege the Broker
Defendants participated in the drafting, preparation, approval, due diligence and/or dissemination
of the PPMS that contained false and misleading statements. (1111 2, 9, 64, 65.) And a portion of
the $69 million in fees the broker-dealers received for selling the Provident Securities was
specifically attributed in the PPMS to “due diligence” the Broker Defendants purportedly
performed in connection with the Offerings ostensibly on behalf of their clients. (1111 2, 10j 64,
68.)20 1ndeed, based just on the fact that the Broker Defendants were paid by Plaintiffs for
conducting due diligence, they became more than just “mere” order takers. In additionj Plaintiffs
specifically allege that each Broker Defendant acted as a fiduciary with respect to the sale of
Provident Securities to each named Plaintiff and Class members. (1111 27-33.)

Defendants ignore all of these allegations. Their motions to dismiss the fiduciary duty

claim hinge on their unsupported factual assertion that Plaintiffs have “non-discretionary”

 

20 See also Confidential Private Placement Memorandum for Shale Royalties 17, 1nc. (NEXT
Ex. A.) at 16 (“The Corporation will pay an 8% sales commission plus a 1% due diligence fee on
the amount of subscription proceeds from subscriptions for the Preferred Stock Series A received
from the Managing Dealer or through other securities broker/dealers who enter into selling
agreements with the Manager Dealer. The Corporation will pay a 5.5% sales commission plus a
1% due diligence fee on the amount of subscription proceeds from subscriptions for the Preferred
Stock Series B received from the Managing Dealer or through other securities broker/dealers
who enter into selling agreements with the Manager Dealer.”).

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brokerage accounts.21 However, merely labeling Plaintiffs’ accounts as “non-discretionary” does
not relieve the Broker Defendants of all fiduciary duties. The Fifth Circuit has explained that
“courts draw no bright-line distinction between the fiduciary duty owed customers regarding
discretionary as opposed to nondiscretionary accounts.” Romano, 834 F.2d at 530. Under Texas
law, “[i]t is the duty of a fiduciary to deal openly, and to make full disclosure to the party with
whom he stands in such relationship.” Kinzl)ach Tool Co. v. Corbett-Wallace Corp.j 160 S.W.2d
509, 513 (Tex. 1942). “The law imposes upon the broker the duty to disclose to the customer
information that is material and relevant to the order.” Magnum Corp., 794 F.2d at 200 (citing
Kinzbach). “For a broker generallyj the fiduciary obligation imposes a duty to recommend
securities suitable for the customer. The broker has a duty to provide the customer with all
information relevant to the affairs the customer instructed to the broker.” 1n re Rea, 245 B.R. 7 7 ,
89 (Bankr. N.D. Tex. 2000).

1t is these duties_of fair dealing and full disclosure, and to recommend suitable
securities to customers_that Plaintiffs allege the Broker Defendants owed and breached. (See
1111 106-118; 145-148.) Even if it were true (and alleged) that Plaintiffs’ accounts were non-
discretionary, a district court (in a case cited favorably by several Texas courts22 and described as

the “leading case” with respect to a broker’s duties to a customer with a non-discretionary

 

21 . . . . .
A non-discretionary brokerage account is one where the broker confers with the investor

before making a transaction. A discretionary account is one where the broker has a continuing
obligation to manage the investor’s account.
22 See, e.g., Anton v. Merrill Lynchj 36 S.W.3d 251j 258 (Tex. App. 2001) (quoting passage
explaining a broker’s fiduciary duties with respect to a discretionary account); Rea, 245 B.R. at
88, 90 (same);1~1ana’, 889 S.W.2d at 493-94.

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account23) confirms that the Broker Defendants owe the following basic fiduciary duties even to
investors with nondiscretionary accounts:
Duties associated with a non-discretionary account include: (1) the duty to
recommend a stock only after studying it sufficiently to become
informed as to its nature, price and financial prognosis; (2) the duty to
carry out the customer’s orders promptly in a manner best suited to serve
the customer’s interests; (3) the duty to inform the customer of the risks
involved in purchasing or selling a particular security; (4) the duty to
refrain from self-dealing or refusing to disclose any personal interest the
broker may have in a particular recommended security; (5) the duty not to

misrepresent any fact material to the transaction; and (6) the duty to transact
business only after receiving prior authorization from the customer.

Leil) v. Merrill Lynch, Pierce, Fenner & Smith, 1nc.j 461 F. Supp. 951, 953 (E.D. Mich. 1978)
(internal citations omitted, emphasis added); see also Gochnauer v. A.G. Ea’wara’s & Sons, 1nc.,
810 F.2d 1042j 1049-50 (11th Cir. 1987) (“Even though the Gochnauers signed an agreement
stating that they understood the risks of option trading, it was incumbent upon Lester to fully
explain the risks of options trading and comment on the agreement guaranteeing a 15% return on
a speculative investment, a highly unusual arrangement to say the least.”).

FINRA Rule 2310 further delineates the Broker Defendants’ fiduciary duties to Plaintiffs
and the Class. The Rule requires that a registered-broker dealer have a reasonable basis for
believing that the investment is suitable for the investor. (11 107.) The Northern District of Texas
has long allowed securities rules to be used as evidence of the fiduciary duties a broker owes to
an investor. See Lange v. 1~1. Hentz & Co., 418 F. Supp. 1376, 1384 (N.D. Tex. 1976) (holding
that “NASD Rules may be used as evidence of the present standard of care which the NASD
member should achieve [and] NASD rules are admissible on the issue of what fiduciary duties
are owed by a broker to an investor,” even though they do not create a private right of action);

see also Apollo Property Partners, LLC v. Newea’ge Fin., 1nc.j No. H-08-1803j 2009 WL

 

23 See Robert J. Haft and Peter M. Fass, 4 Tax-Advantaged Securities § 6.163 (2010).

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778108j at *2 (S.D. Tex. Mar. 20j 2009) (holding that FINRA/NASD Rule 2310 is “evidence of
the standard of conduct by which the actions of brokers are judged for the purpose of negligence
actions” but is not a basis for federal jurisdiction). The cases Defendants cite for the proposition
that the FINRA Rule does not create a private right of action are irrelevant, since Plaintiffs cite
the Rule not as a separate cause of action, but only as further explanation of the duties the Broker
Defendants owe Plaintiffs and the Class. (See NEXT Mem. 6-7.)

Defendants cite cases in which courts have stated that a “non-discretionary account”
requires nothing more from the broker than the faithful execution of the investor’s orders, but
none of Defendants’ cases involved the type of broker-investor relationship alleged in this case,
where the Broker Defendants solicited Plaintiffs’ and the Class’ investments in the Provident
Securities; participated in the drafting, preparation, approval, due diligence and/or dissemination
of various materially false and misleading statements in the PPMs; and were paid to perform due
diligence of the securities. (1111 2, 9-10, 64-69.)

Moreover, the determination of whether or not an account is discretionary or non-
discretionary cannot be resolved on a motion to dismiss based solely on Defendants’ bald
assertion of facts not before the Court. See, e.g., Hana’, 889 S.W.2d at 492 (on summary
judgment, weighing broker’s affidavit and deposition testimony of investor’s father, along with
investor’s admission that she did not know the nature of her account, to determine whether
investor’s account was non-discretionary or discretionary). In that regard, the Brokers
Defendants’ cases are also distinguishable because they were decided on summary judgment or
at trial, after full development of the facts confirmed that the broker’s duty was “confined to
executing the orders he or she has accepted from the customer.” Tapia v. Chase Manhattan

Bank, 1\1.14.j No. EP-93-CA-334-F 1997 U.S. Dist. LEXIS 23210, at *28 (W.D. Tex. May 9j

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1997) (on summary judgment), a]j"d, 149 F.3d 404 (5th Cir. 1998); see also Romano, 834 F.2d at
530 (affirming district court’s dismissal following trial); EdwardD. Llones & Co. v. 17letcherj 975
S.W.2d 539, 545 (Tex. 1998) (reversing judgment for plaintiff following jury trial); Western
Reserve Life Assur. Co. v. Gral)enj 233 S.W.3d 360, 374 (Tex. App. 2007) (affirming judgment
for plaintiff after jury); 111andj 889 S.W.2d at 493 n.5 (affirming summary judgment).

Regardless of the type of account, the Broker Defendants are liable. Defendants’ cases
highlight the principal distinction between discretionary and non-discretionary accounts: the
duration of the broker’s duties to the investor. “As a general proposition, a broker’s duty in
relation to a nondiscretionary account is complete, and his authority ceases, when the sale or
purchase is made and the receipts therefrom accounted for.” Hand, 889 S.W.2d at 493-494; see
also Tapia v. Chase Manhattan Bank, N.A., 149 F.3d 404, 412 (5th Cir. 1998) (holding that the
statute of limitations for breach of fiduciary duty started to run at the time of the investor’s
purchase, when the broker provided the investor with the information he claimed was not
disclosed). This distinction is not relevant to Plaintiffs’ breach of fiduciary duty claim, which is
based on duties the Brokers Defendants undertook and owed at the time they solicited Plaintiffs’
and the Class’ purchases of Provident Securities. (See 1111 11, 65, 106-18.) As the Second Circuit
has explained, “[o]n a transaction-by-transaction basis, the broker owes duties of diligence and
competence in executing the client’s trade orders, and is obliged to give honest and complete
information when recommending a purchase or sale. The client may enjoy the broker’s advice
and recommendations with respect to a given trade, but has no legal claim on the broker’s
ongoing attention.” de Kwiatkowski v. Bear, Stearns & Co., 1nc.j 306 F.3d 1293, 1302 (2d Cir.

2002)

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Finally, Defendants cite several irrelevant fiduciary duty cases that do not involve broker-
investor relationships, most of which, in any event, were also decided after discovery. See
Navigant Consulting, 1nc. v. Wilkinson, 508 F.3d 277, 283 (5th Cir. 2007) (affirming judgment
for plaintiff company on fiduciary duty claim because sufficient evidence supported jury verdict
for the company against former employees, who breached their fiduciary duty by, among other
things, disclosing confidential information to the company’s competitors and soliciting the
company’s employees); Lexington 1ns. Co..j 2009 WL 1750523j at *3 (dismissing defendant’s
third-party claim for breach of fiduciary duty because Texas does not recognize the relationship
between insurance agent and client as a fiduciary relationship and the plaintiff had not plead a
“special relationship” that transformed the arms-length transaction into a fiduciary duty); Abetter
Trucking Co. v. Arizpe, 113 S.W.3d 503, 508 (Tex. App. 2003) (affirming judgment for
defendant employee because the jury could reasonably have concluded that employee did not
solicit co-workers in breach of his fiduciary duty to his employer); Thompson v. Vinson &
Elkinsj 859 S.W.2d 617 (Tex. App. 1993) (affirming summary judgment for law firm because an
attorney cannot represent an estate or a trust, or the beneficiary of a trust and an attorney
representing a trustee).

In short, the allegations of the Complaint are sufficient to state a plausible claim for
Broker Defendants’ breach of fiduciary duty to investors in Provident Securities regardless of
whether the account was discretionary or non-discretionary. As Plaintiffs have alleged facts
supporting the nature of the Broker Defendants’ fiduciary duties to Plaintiffs and investors, facts
demonstrating the manner in which the Broker Defendants breached their fiduciary duties to

Plaintiffsj and the resulting damages, Broker Defendants’ motion should be denied.

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V. PLAINTIFFS HAVE ALLEGED CONTROL PERSON LIABILITY AGAINST
THE CONTROL PERSON DEFENDANTS

The TSA holds a “control person” liable for any violation of TSA Article 581-33 by the
controlled seller of securities:

A person who directly or indirectly controls a seller, buyer, or issuer of a security

is liable under Section 33A, 33Bj or 33C jointly and severally with the seller,

buyer, or issuer, and to the same extent as if he were the seller, buyer, or issuer,

unless the controlling person sustains the burden of proof that he did not know,

and in the exercise of reasonable care could not have known, of the existence of

the facts by reason of which the liability is alleged to exist.
TSA Article 581-33F. The seller and the control person are jointly and severally liable for a
violation of TSA Article 581-33(A). See, e.g., Gonzalez v. Morgan Stanley Dean Witter, 1nc.j
No. SA-O3-CA-90l-H, 2004 U.S. Dist. LEXIS 26709, at *6 (W.D. Tex. July 13, 2004), a]j"d
2006 U.S. Dist. LEXIS 17317 (5th Cir. 2006). “The comment to 33F(1) states, ‘The rationale for
control person liability is that a control person is in a position to prevent the violation and may be
able to compensate the injured investor. . . .”’ 1n re Enron Corp. Sec., Derivative & ER1SA Litigj
258 F. Supp. 2d 549, 607 (S.D. Tex. 2003) (citingj TSA Article 581-33, cmt. at 84 (Vernon’s
supp. 2002)).24

The Control Person Defendants contend that Plaintiffs failed to adequately plead primary

violation claims against the Broker Defendants under Article 581-33(A)(2)j and therefore the

control person claim must fail. (Ameriprise Mem. 5; NEXT Mem. 19.) They are wrong. As set

 

24 The court in Enron went on to find that plaintiffs had set forth sufficient allegations to state a
control person claim and denied the motion to dismiss, stating that the defendant’s objections to
the control person claim “may more appropriately be raised on summary judgment after
discovery.” 1d. at 649.

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forth above, Plaintiffs have adequately pled the elements of the primary violation claim against
each of the Broker Defendants.25

In addition, all of the Control Person Defendants have moved to dismiss these claims
asserting that the Complaint lacks sufficient allegations to hold the Control Person Defendants
liable under the TSA. (Ameriprise Mem. 3-8; CapFin Mem. 4; CapWest Mem. 3-4; Natl Sec.
Mem. 4-5; NEXT Mem. 19-22; QA3 Mem. 3-4.) As discussed below, once again Defendants
are wrong.

Although “[t]he TSA does not define ‘control person’...Texas courts have determined
that ‘control’ is to be ‘used in the same broad sense as in federal securities law’ and means ‘the
possession, direct or indirect, of the power to direct or cause the direction of the management or
policies of a person, whether through ownership of voting securities, by contract, or otherwise.”’
Barnes v. SWS Fin. Servs., 97 S.W.3d 759, 763 (Tex. App. 2003) (quoting 581-33(F) cmt.); see
also Trendsetter 1nvestors, LLC v. Hyperdynamics Corp.j No. H-06-0746, 2007 WL172627, at
*26-27 (S.D. Tex. Jan. 18j 2007) (“Congress envisioned a broad definition of control: ‘[W]hen
reference is made to ‘control,’ the term is intended to include actual control as well as what has
been called legally enforceable control.... 1t was thought undesirable to attempt to define the
term. 1t would be difficult if not impossible to enumerate or to anticipate the many ways in which
actual control may be exerted. A few examples of the methods used are stock ownership, lease,
contract, and agency.”’) (quoting H.R. Rep. No. 1383, 73rd Cong.j 2d Sess. 26 (1934)).

Texas courts hold that “a defendant is a control person under the TSA if it (1) exercised

control over the operations of the corporation in general and (2) had the power to control the

 

25 Even absent the primary violation claim, control person claims may be allowed to proceed.

See, e.g., 1n re Enron Corp Sec., Derivative & ERISA Litig., No. 1\/[DL 1446, H-01-3624j 2005
WL 16379147 at *3-4 (S.D. Tex. June 20j 2005).

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specific transaction or activity upon which the primary violation is predicated.” Barnes, 97
S.W.3d at 763 (citing Frank v. Bear, Stearns & Co., 11 S.W.3d 380, 384 (Tex. App. 2000)).
Defendants have referred to this standard as the “Frank test.” (NEXT Mem. 20-21.) They
further assert that Texas courts apply two different standards for determining control person
liability, citing Texas Capital Secs. Mgm’t, 1nc. v. Sandefer, 80 S.W. 3d 260, 268 (Tex. App.
Texarkana 2002)j which applied a higher standard requiring the plaintiff to prove that the
defendant “induced or participated in the alleged violation.” (NEXT Mem. 20-21; Ameriprise
Mem. at 5-8.) However, the Sandefer test was adopted from the Fifth Circuit’s decision in
Dennis v. Gen. 1maging, 1nc.j 918 F.2d 496, 509 (5th Cir. 1990). The Fifth Circuit has since
found that “Dennis does not accurately reflect our rejection . . . of a ‘culpable participation’
requirement.” Abbott v. Equity Group, 1nc., 2 F.3d 613, 620 (5th Cir. 1993).

Subsequent decisions have similarly rejected the Sandefer test. See, e.g. Gonzalezj 2004
U.S. Dist. LEXIS 26709j at 11 (rejecting application of Sandefer test concluding that the Frank
standard “is more in line with the aims and specifications of the TSA” and comports with current
Fifth Circuit law); Barnes, 97 S.W.3d at 764 (observing that “the Fifth Circuit has specifically

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held that the federal statute does not ‘require participation in the wrongful transaction because

“‘[l]ack of participation and good faith constitute an affirmative defense for a controlling
person,”’ and that the TSA similarly “places the burden of proof as to the issue of control on the
plaintiff and the burden of proof for establishing good faith on the defendant”) (quoting G.A.
Thompson & Co., 1nc. v. Partridge, 636 F.2d 945, 958 (5th Cir. 1981);26 Hagerty Partners

P’ship v. Livingston, 128 S.W.3d 416, 421 (Tex. App. 2004) (applying the Frank standard and

 

26 Thus, even if this Court were to utilize the disfavored Sandefer test, the allegations in the

Complaint would still suffice because “culpable participation” is an affirmative defense.

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citing Barnes); Newby v. Enron Corp. (1n re Enron Corp. Sec. Litig.)j Civ. Action No. H-01-
3624, 2004 WL 764664, at *5 (S.D. Tex. Mar. 31, 2004) (applying Sections 15 and 20(a), “the
Fifth Circuit has expressly rejected more stringent requirements such as actual participation in
the primary violation and/or the actual exercise of the controlling person’s power to control,”
upholding claims against parent holding company).

Defendants ignore the fact that all of the Control Person Defendants are parent
companies of the Broker Defendants. (1111 35-41.) Courts in the Fifth Circuit have held that for
pleading purposes, allegations identifying the alleged primary violator as a wholly-owned
subsidiary of the parent company defendant are generally sufficient to show the power to control
or influence the subsidiary. See Trendsetter, 2007 WL 172627, at *26; 1n re Enron Corp Sec.,
Derivative & ER1SA Litig.j No. l\/[DL 1446j H-Ol-3624, 2004 WL 3410449, *3 (S.D. Tex. Apr.
6, 2004).

Moreover, Plaintiffs allege that the Control Person Defendants “directly and/or indirectly
controlled the Broker Defendants” within the meaning of Article 581-33F(1) of the TSAj and
further allege that each Control Person Defendant “exercised control over the management,
policies and operations of its subsidiary Broker Defendant and had the power to control the
specific transactions and/or activities” that form the basis of the Broker Defendants’ primary
violations of the TSA. (11141.) Plaintiffs also allege that each of the Control Person Defendants
“had the ability to prevent its subsidiary Broker Defendant from acting as a seller” of Provident
Securities, had “direct and supervisory involvement in and/or knowledge of the day-to-day

operations of its subsidiary Broker Defendant” and “had the power to control or influence the

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particular transactions giving rise to the securities violations as alleged herein, and exercised”
that power. (11142.)27

The Complaint includes the following specific allegations about each Control Person
Defendant:

0 Ameriprise offers financial planning, products and services to individual and
institutional investors, and distributes its products through Securities America, its wholly owned
broker-dealer subsidiary. Ameriprise owns 100% of Securities America, and controls and has
the ability to direct Securities America’s management and policies. In addition, Ameriprise and
Securities America share common management, including Walter S. Berman, who serves as
Ameriprise’s Chief Financial Officer and is a Director of Securities America. (1135.)28

0 Capital Holdings offers investment products and services to independent
investment representatives, financial planners and investment advisers through Capital Financial,
its wholly-owned subsidiary. Capital Holdings owns 100% of Capital Financial, and controls
and has the ability to direct Capital Financial’s management and policies. Capital Holdings and
Capital Financial share the same address and phone number. They also share common

management personnel, including Bradley P. Wells (President, Chief Executive Officer and

 

27 Despite the Control Person Defendants’ protestations (Ameriprise Mem. 7)j Plaintiffs’

allegations as to all Control Person Defendants in 1111 141 and 142 are sufficient because they are
all alleged to have the similar power and scope of control. This is completely different from the
facts in Floyd v. C1BC WorldMarkets, 1nc.j No. H-08-3048j 2009 WL 2633791j at *3 (S.D. Tex.
Aug. 25j 2009) (plaintiffs failed to plead any facts whatsoever as to a particular defendant and
merely alleged joint wrongdoing).

28 Ameriprise argues that it is “an indirect parent of Securities America.” (Ameriprise Mem. at 7
n.2.) But this purported fact is irrelevant because Ameriprise acknowledges that it wholly owns
the intermediate subsidiary, which in turn wholly owns Securities America. See, e.g., 1n re BP
Prudhoe Bay Royalty Trust Sec. Litig., C06-1505j 2007 WL 3171435j at *1, *8 (W.D. Wash.
Oct., 26, 2007) (control person status established against parent of “an indirect wholly-owned
subsidiary”).

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Chief Financial Officer of Capital Holdings and Director and Treasurer of Capital Financial);
Jacqueline L. Case (Vice President of Corporate Strategy of Capital Holdings and Vice President
and Secretary of Capital Financial); and Vance C. Castleman (Director of both Capital Holdings
and Capital Financial). (11 36.)

0 GunnAllen Holdings provides securities brokerage, securities trading, investment
banking, and money management services through its subsidiaryj GunnAllen. GunnAllen
Holdings owns 75% of GunnAllen, and thus controls and has the ability to direct GunnAllen’s
management and policies. GunnAllen Holdings and GunnAllen share the same address and
phone number. Until April of 2009, GunnAllen Holdings and GunnAllen shared the same Chief
Executive Officer, Gordon Loetz. (1138.)

0 National Holdings provides independent brokerage, advisory services and asset
management services through National Securities, its subsidiary. National Holdings owns 75%
of National Securities, and controls and has the ability to direct National Securities’ management
and policies. National Holdings and National Securities share the same address and phone
number. They also share common management: Mark Goldwasser serves as Chief Executive
Officer of both National Holdings and National Securities. (11 39.)

0 NEXT Holdings provides financial services through NEXT, its subsidiary. NEXT
Holdings owns 75% of NEXT, and controls and has the ability to direct NEXT’s management
and policies. NEXT Holdings and NEXT share the same address and phone number. They also
share common management, including Gordon D’Angelo (Chairman and Chief Executive
Officer of both NEXT Holdings and NEXT)j and Norm Grantj David Holz and Arthur Farr (all

of whom serve as Directors for both NEXT Holdings and NEXT). (11 40.)

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0 Defendant QA3, LLC provides financial services through its subsidiary QA3.
QA3j LLC owns 75% of QA3, and thus controls and has the ability to direct QA3’s management
and policies. QA3, LLC and QA3 share the same address and phone number. They also share
common management, including Stephen K. Wild (Executive Officer of QA3, LLC and
Chairman of QA3); and Nancy Drennen (Executive Officer of QA3, LLC and Vice President and
Chief Marketing Officer of QA3). (11 41 .)

0 Capstone provides financial services, owns at least 75% of CapWest and directs
CapWest’s management or policies. (11 37.)

Thusj as in Trendsetter and Enronj the allegations in the Complaint are sufficient to show
that “the pleader is entitled to relief’ under Rule 8(a). Enronj 2004 WL 3410449, at * 3.29

The Control Person Defendants fail to provide any support for a finding that allegations
concerning the Control Person Defendants as parent companies of Broker Defendant subsidiaries
are not sufficient to survive their motions to dismiss. 1nstead, in support of their motions to
dismiss, the Control Person Defendants cite to the analysis in TSA cases involving the
relationship of certain officers, directors and/or employees to a corporation for purposes of
establishing whether or not those individuals can be found to be control persons. See Gonzalezj

2004 U.S. Dist. LEXIS 26709 at *7-11 (on summary judgment, finding that plaintiff had not

 

29 Courts in the Southern District of New York, where the applicable standard is at least as

rigorous as it is here, have also have found adequate pleading of control person liability in cases
involving parent companies of subsidiary controlled parties with similar allegations. See, e.g.
Pollack v. Laidlaw Holdings, 1nc.j No. 90 Civ. 5788 (BAC), 1995 WL 261518, at *18 (S.D.N.Y.
May 3, 1995) (“In this case, Laidlaw Holdings controlled both Laidlaw Equities and Laidlaw
Asset Management through one hundred percent stock ownership and through common officers
and directors. Accordingly, plaintiffs have provided prima facie evidence of Laidlaw Holdings'
status as a controlling person.”). See also, 1n re Global Crossing, LTD Sec. Litig., No. 02 Civ.
910(GEL), 2005 WL 1875445j at *4 (S.D.N.Y. Aug. 5j 2005) (citing “persuasive authority in
which courts have sustained Section 15 claims against a parent corporation for the acts of a
subsidiary”).

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proffered evidence that a regional manager controlled an account executive); Hagerty Partnersj
129 S.W.3d at 421 (addressing jurisdiction over board members of company located in Texas
with no analysis of control person liability under TSA); Sandefer, 80 S.W.3d at 268 (whether
officers and directors were control persons).30 1t is in connection with these cases that courts
consider the status of the individual to whom control person liability is alleged - notj like here, in
the context of control over a wholly-owned or maj ority-owned subsidiary company.31

In sum, Plaintiffs have adequately pled their control person claim. Accordingly, the
Control Person Defendants’ motion should be denied.

VI. PLAINTIFFS REQUEST LEAVE TO AMEND ANY PORTION OF THE
COMPLAINT THAT IS DISMISSED BY THE COURT

Plaintiffs hereby request that, should the Court grant Defendants’ motions to dismiss in
any part, it grant them leave to amend the Complaint. Pursuant to Rule 15(a)(2), “[t]he court
should freely give leave when justice so requires.” 1ndeed:

The Federal Rules of Civil Procedure set forth a liberal policy in favor of
permitting amendment of pleadings, and district courts are not to deny such

 

30 Defendants also cite to non-TSA cases which similarly involved the relationships of

individuals to a corporation. See, NEXT Mem. 19-22 (citing to G.A. Thompson & Co., 636 F.2d
at 958 (whether officer was a control person); Copland v. Grumet, No. Civ.A. 96-3351 1998 WL
256654 at *16 (D.N.J. Jan. 9, 1998) (whether former director was control person); Starr v. !heyj
No. 01 C 6087, 2003 WL 21212596, at *4 (N.D. Ill. May 23j 2003) (whether senior managers,
directors or shareholders were control persons); Zagami v. Natural Health Trends Corp., 540 F.
Supp. 2d 705j 716 (N.D. Tex. 2008) (whether officers and directors were control persons). See
also, Ameriprise Mem. 7 (citing 1n re Dynegy, 1nc. Sec. Litig., 339 F. Supp. 2d 804, 913 (S.D.
Tex. 2004) (whether officers and directors were control persons).

31 In fact, some of the Control Person Defendants’ own cases actually support a finding that
Plaintiffs’ Complaint is adequately pled. See Starr, 2003 WL 21212596, at *4 (dismissing
control person claims for failing to plead any facts other than the fact that defendants were
shareholders, but identifying examples where control person liability was properly pled: “For
examplej a plaintiff sufficiently pleaded control person liability where the complaint alleged that
the defendant was the majority shareholder (and therefore had control over the directors)”
(emphasis added)); 1n re Enron Corp. Sec. Derivative & ER1SA Litig., No. 1\/[DL-1446, H-01-
3624j 2004 WL 764664j at *6 (S.D. Tex. Mar. 31, 2004) (finding complaint adequately pled
control person claim as to parent subsidiary).

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amendment absent a “substantial reason” to do so...1ndeed, the Fifth Circuit has
long recognized that the Federal Rules “evince[] a bias in favor of granting leave
to amend.”

Timberlake v. Synthes Spine, 1nc., No. V-08-4, 2010 WL 743927, at *2 (S.D. Tex. Feb. 25j 2010)
(citing Dussouy v. Gulf Coast 1nv. Corp.j 660 F. 2d 594, 598 (5th Cir. 1981)) (remaining
citations omitted). Moreover, none of the factors weighing against granting leave to amend -
undue delay, bad faith or dilatory motive, repeated failures to cure deficiencies through previous
amendments, undue prejudice to Defendants, or futility - are present here. 1d Thusj Plaintiffs
should be permitted to amend any portions of the Complaint that the Court finds deficient.
CONCLUSION

For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendants’

motions to dismiss.

Dated: March 22j 2010

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing document
was filed on the court’s Cl\/[/ECF system and was hereby made available to counsel of record on
this 22nd day OfMarch, 20i0.

By: /s/ Richard A. Speirs
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